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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




LOUIS RICKS, III,                               *
                                                *
       and                                      *
                                                *
VICKY MONROE-RICKS,                             *
                                                *       Civil No. pJM 19-2276
       Plaintiffs,                              *
                                                *
       v.                                       *
                                                *
AUTO GIANTS, INC., et aI.,                      *
                                                *
       Defendants.                              *
                                    MEMORANDUM OPINION

       Despite ample warnings from the Court, Pro Se Plaintiff Vicky Monroe-Ricks has failed

to comply with important rules of court and for that reason her case and the claims she purports to

bring for her husband Louis Ricks, III will be DISMISSED without PREJUDICE.

        1. Ms. Monroe-Ricks refuses to file a Motion to Proceed In Forma Pauperis or pay a filing

             fee, asserting that Defendants should pay because they caused the harm she complains

             of. There is no legal basis for refusing to pay a filing fee on that ground. If Ms. Monroe-

             Ricks were to ultimately prevail in an action against one or more Defendants, she could

             be awarded costs including the said filing fee. Otherwise the case officially stops here.

             Still a few cautions may be helpful for Ms. Monroe-Ricks to understand.

       2. She may represent herself in this Court, but unless she is an attorney authorized to

             practice in this Court, she may not represent her husband Louis Ricks, III. Apparently

             she is not an attorney licensed here. Thus, if Mr. Ricks wishes to proceed, he must

             either represent himself or find a licensed attorney to do so.
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       3. Ms. Monroe-Ricks may assert a claim of breach of contract if she is a signed party to

          the contract, but she may not assert breach of a contract that only her husband, not she,

          has signed.

       4. As for the claim for injuries when her husband allegedly tripped and fell at Defendant

          Auto Giants, Inc., any such claim would have to be pursued by him personally, not by

          Ms. Monroe-Ricks, unless she is an attorney authorized to practice in this Court, which

          she apparently is not.

       5. The legal concept of proximate cause may present an obstacle to Mr. Ricks' pursuit of

          his trip and fall claim, but rather than elaborate, the Court again strongly suggests

          Plaintiffs consult an attorney on the matter.

       6. The foregoing are neutral principles of law. It is inappropriate to suggest that they are

          in any way motivated by racial animus.

       7. Defendant     Assurant,   Inc.'s   Motion   to Dismiss   will be GRANTED        without

          PREJUDICE. Pro Se Plaintiffs' Motion to Close This Case is MOOT. A Separate

           Order will be entered.




                                                                          lsI
                                                             P TERJ. MESSITTE
                                                       U   TE STATES DISTRICT JUDGE

July 9, 2020
